USCA Case #24-7063        Document #2105654              Filed: 03/13/2025      Page 1 of 1


                  United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 24-7063                                                September Term, 2024
                                                                       1:21-cv-00920-APM
                                                  Filed On: March 13, 2025 [2105654]
Michaela Smith,

              Appellant

      v.

Howard University,

              Appellee

                                        ORDER

       Upon consideration of pro se appellant’s motion to extend the deadline to file the
reply brief, it is

       ORDERED that the motion be dismissed as moot in light of pro se appellant’s
March 10, 2025 notice that she is joining in the reply brief of court-appointed amicus
curiae filed on March 10, 2025.

                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk
